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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                        PM 'DPLDQ
                                    No. ________________

 UNITED STATES OF AMERICA                                         ),/(' 81'(5 6($/

 vs.

 DANIEL LESIN,

                    Defendant.
 _____________________________/

                                CRIMINAL COVER SHEET

 1.    Did this matter originate from a matter pending in the Northern Region of the United
       States Attorney’s Office prior to August 8, 2014?          Yes    X     No

 2.    Did this matter originate from a matter pending in the Central Region of the United States
       Attorney’s Office prior to October 3, 2019?           Yes       X     No


                                            Respectfully submitted,

                                            JUAN ANTONIO GONZALEZ
                                            UNITED STATES ATTORNEY


                                     BY:    /s/ Roger Cruz
                                            ROGER CRUZ
                                            ASSISTANT UNITED STATES ATTORNEY
                                            Florida Bar Number 157971
                                            99 N. E. 4th Street
                                            Miami, Florida 33132-2111
                                            TEL (305) 961-9207
                                            FAX (305) 530-7976
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